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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA
BERNADETTE AHMED

                      Plaintiff,

       vs.


                                                  Civil Action No. : 2:15-cv-1155
MIDLAND FUNDING LLC

                      Defendant.




                      STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties

hereby stipulate to Plaintiff's voluntary dismissal of her claims against Midland Funding, LLC,

with prejudice.



/s/ Fred Davis______________                        /s/ Lawrence J. Bartel_______
Davis Consumer Law Firm                             Marshall, Dennehey, et al
Attorneys for Plaintiff                             Attorneys for Defendant
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DATED: July 13, 2015
